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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


____________________________________
                                    :
GLADYS ECHEGOYEN,                   :              Civil Action No. 15-6382 (KM) (MAH)
                                    :
             Plaintiff,             :
                                    :
       v.                           :               AMENDED SCHEDULING ORDER
                                    :
U.S. STANDARD HOLDINGS TRUST :
LLC, et al.,                        :
                                    :
             Defendants.            :
____________________________________:

      THIS MATTER having come before the Court for a telephone status conference on
October 28, 2019; and for good cause shown:

      IT IS on this 28th day of October 2019,

      ORDERED THAT:

      1.     By November 4, 2019, Mr. Singh and Mr. Munier shall file a letter to the Court
             indicating who is representing Defendants.

      2.     The parties shall forthwith meet and confer regarding the issue as to Defendants’
             financial records/tax returns. If the parties are unable to reach agreement on this
             issue, they shall file a joint letter with the Court by November 18, 2019, setting
             forth each side’s respective position on the issue, limited to five double-spaced
             pages per side.

      3.     There shall be a telephone status conference before the Undersigned on February
             3, 2020 at 2:30 p.m.

      4.     Fact Discovery is to remain open through January 24, 2020. No discovery is to
             be issued or engaged in beyond that date, except upon application and for good
             cause shown.

      5.     All affirmative expert reports shall be delivered by February 28, 2020. Any such
             report is to be in the form and content as required by Fed. R. Civ. P. 26(a) (2) (B).

      6.     All responding expert reports shall be delivered by April 1, 2020. Any such
             report shall be in the form and content as described above.
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     7.    All expert discovery, including the completion of depositions, shall be
           completed by May 4, 2020.


                                                s/ Michael A. Hammer___________
                                                Hon. Michael A. Hammer
                                                United States Magistrate Judge
